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 11
 12                      UNITED STATES DISTRICT COURT
 13        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 14
 15 UNITED STATES OF AMERICA,                 CASE NO. 2:19-CR-00527-ODW
 16          Plaintiff,                       DEFENDANT RONALD S.
                                              WEAVER’S NOTICE OF MOTION
 17        v.                                 AND MOTION TO DISMISS
                                              BASED ON OUTRAGEOUS
 18 RONALD SEYMOUR WEAVER, et                 GOVERNMENT MISCONDUCT
    al.,                                      RELATED TO SEARCH
 19                                           WARRANTS AND DISCOVERY
            Defendants.                       PRODUCTIONS
 20
                                              [Filed Concurrently with Declaration of
 21                                           Ronald S. Weaver; Declaration of
                                              Pamela J. Moore; Declaration of Bruce
 22                                           Pixley; and [Proposed] Order]
 23                                           Date: May 9, 2022
                                              Time: 10:00 a.m.
 24                                           Crtrm: 5D
 25                                           Assigned to Hon. Otis D. Wright II
 26
 27
 28

        DR. R. WEAVER’S MOTION TO DISMISS BASED ON OUTRAGEOUS GOVERNMENT MISCONDUCT
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   1        TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
   2        PLEASE TAKE NOTICE that on May 9, 2022, at 10:00 a.m., or as soon
   3 thereafter as the matter may be heard in the courtroom of the Honorable Otis D.
   4 Wright II, United States District Court Judge, located at 350 W. 1st Street, Los
   5 Angeles, California 90012, Courtroom #5D, 5th Floor, Defendant Dr. Ronald S.
   6 Weaver (“Dr. R. Weaver”) will, and hereby does, move the Court to dismiss the
   7 charges against him. To the extent the Court finds it necessary, Dr. R. Weaver
   8 further requests that the Court hold an evidentiary hearing, in order to ascertain the
   9 full extent of the government’s misconduct and determine the appropriate remedy.
 10 At a minimum, the evidence seized should be suppressed, as should all fruits of such
 11 evidence.
 12         This Motion is made on the grounds that the government engaged in
 13 outrageous misconduct and violated the Fourth Amendment of the United States
 14 Constitution by:
 15                (1) obtaining unconstitutional general warrants that allowed the
 16 government to rummage through Dr. R. Weaver’s entire digital life without
 17 probable cause; and
 18                (2) failing to comply with the terms of the warrants and thereby causing
 19 the widespread dissemination of the most private records of Dr. R. Weaver, his
 20 family, his friends, and others, all of which were seized without probable cause and
 21 in violation of the terms of the warrants, and all of which were then widely
 22 disseminated without redaction or a protective order.
 23         This Motion is based on this Notice of Motion, the Memorandum of Points
 24 and Authorities, the accompanying Declarations of Pamela J. Moore, Bruce W.
 25 Pixley, and Defendant Dr. Ronald S. Weaver, and the exhibits thereto, the
 26 Indictment, and such other and further argument and evidence as may be presented
 27 to the Court at the hearing on this matter. This Motion is also based on the
 28 Constitutional violations discussed at length in Sara Soulati and Dr. R. Weaver’s

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   1 Joint Motion to Sever or Suppress, which is incorporated by reference and which
   2 discusses the government’s unlawful seizure and dissemination of Dr. R. Weaver’s
   3 privileged attorney-client communications, including in a manner which makes
   4 claw-back virtually impossible. See Dkt. 396.
   5
   6 DATED: February 7, 2022            Ariel A. Neuman
                                        Bird, Marella, Boxer, Wolpert, Nessim, Drooks,
   7
                                        Lincenberg & Rhow, P.C.
   8
   9                                    By:         /s/ Ariel A. Neuman
 10                                                 Ariel A. Neuman
                                              Attorneys for Defendant Ronald S. Weaver
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   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.      INTRODUCTION
   3         Videos of Dr. Ronald S. Weaver’s sexual encounters, his private
   4 communications about the death of his daughter, photographs of his other daughter
   5 at life’s milestone events, his wife’s medical records, his private (and privileged)
   6 communications with his wife, and his friends’ personal financial information, were
   7 among the reams of irrelevant and intimate data that the government seized and
   8 produced to every defendant in this case. The seizures were without probable cause
   9 and in flagrant disregard of the terms of the two search warrants by which the
 10 investigators obtained the material. The government’s misconduct in relation to
 11 these search warrants is outrageous. The government was alerted to the inclusion of
 12 this material in the discovery over a year ago and did nothing. Whether an
 13 intentional effort to embarrass and intimidate Dr. R. Weaver, or a simple lack of due
 14 care to the responsibilities of being an FBI agent and DOJ prosecutor, the result was
 15 the wide-spread dissemination of irrelevant and highly sensitive material—without
 16 redaction or a protective order—to every defendant and lawyer in this case.
 17          This misconduct is part and parcel of a pattern of constitutional violations
 18 against Dr. R. Weaver. As detailed in the contemporaneously filed Joint Motion of
 19 Ms. Soulati and Dr. R. Weaver to Suppress and Sever, in relation to a third search
 20 warrant, the government also seized, reviewed, and disseminated to every defendant
 21 in this case Dr. R. Weaver’s attorney-client privileged materials without Bates-
 22 numbers, making it virtually impossible to claw back that material. See. Dkt. 396.
 23 That Motion is incorporated by reference, and together with the facts and law set
 24 forth below, demonstrates the government’s complete abandonment of its duties and
 25 responsibilities to comply with the law and with court orders in this case. Together,
 26 they draw a picture of government investigators run amok, misleading magistrate
 27 judges, failing to comply with search warrant protocols, and acting with complete
 28 disregard for the constitutional rights of Dr. R. Weaver.

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   1          The search warrants at issue in this brief were ostensibly designed so that the
   2 government could obtain emails from Dr. R. Weaver’s Apple and Google accounts
   3 that would be related to the instant healthcare investigation. But rather than limit
   4 itself to just emails, and rather than limit itself to the categories of material it was
   5 permitted to seize, the government seized tens of thousands of irrelevant files
   6 associated with these accounts which have absolutely nothing to do with this case.
   7          The government then produced almost all of it to every defendant and lawyer
   8 in the case without redaction and without a protective order. Examples include:
   9               Multiple videos showing Dr. R. Weaver (and others) engaged in sexual
                    intercourse and other intimate acts;
 10
                   150+ personal emails between Dr. R. Weaver and his adult son (who
 11
                    has nothing to do with this case), including those in which father and
 12                 son discuss divorce, the death of their daughter/sister, and various other
                    sensitive subjects;
 13
                   Dr. R. Weaver’s wife’s personal medical records, as well as his own;
 14
                   500+ emails concerning the National Association of Guardsmen,
 15                 including bank account balances and information about whether
 16                 chapters had paid their dues, which were sent to Dr. R. Weaver in his
                    capacity as Treasurer of the Los Angeles Chapter of National
 17                 Guardsmen (and which has no connection to this case);1
 18                800+ personal and privileged emails between Dr. R. Weaver and his
 19                 estranged wife (who has nothing to do with this case);
 20                350+ personal emails between Dr. R. Weaver and his girlfriend (who
                    has nothing to do with this case);
 21
                   Photographs of Dr. R. Weaver’s daughter at various milestone events
 22                 (such as baptism);
 23                Communications and records regarding Dr. R. Weaver’s massage
 24                 appointments;

 25                Records about Dr. R. Weaver’s vacations, including communications

 26    1
       The National Association of Guardsmen, or The Guardsmen for short, is an
 27 organization  composed of over 10,000 college-degreed black men whose primary
    mission is to improve the quality of life within their communities and enhance
 28 educational and economic opportunities for all African-Americans.

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   1               with travel agents;
   2              Copies of his daughter’s homework assignments; and
   3              Records showing Dr. R. Weaver’s spending on personal items,
                   including electronic devices, home appliances and bedding,
   4               newspaper/magazine subscriptions, repair services for his wife’s
   5               vehicle, and men’s health supplements related to sexual activity.
   6        The execution of the search warrants at issue were problematic in every
   7 respect. First, the warrants on their face were unconstitutional general warrants
   8 that allowed the government to rummage through the entirety of Dr. R. Weaver’s
   9 Apple and Google accounts, without even an attempt to show probable cause for
  10 anything beyond emails. Contrary to basic FBI training and standards, and without
  11 warning to the magistrate judges, the warrants demanded all information associated
  12 with the accounts, rather than just emails. These accounts contain reams of data
  13 beyond emails, including videos, photographs, documents, app-related records, etc.
  14      Second, once the government obtained all this data, it made no serious effort
  15 to segregate and seize only the material that fell within the categories and timeframe
  16 delineated in the warrants. Rather, the government appears to have seized almost
  17 everything and turned it over to every defendant in the case (save some potentially
  18 privileged material). The government seized and produced to every defendant in the
  19 case thousands of private and sensitive videos, photographs and documents
  20 comprising virtually every aspect of Dr. R. Weaver’s personal life and that of his
  21 family, without redaction and without a protective order, and notwithstanding that it
  22 all falls outside the scope of the warrants.
  23        Third, when alerted to this widespread distribution without redaction or a
  24 protective order, the government did nothing for more than a year, and then just two
  25 days ago made a minimal effort to claw-back eight of the most intimate videos.
  26        The government’s flagrant disregard of the terms of the search warrants is
  27 both astounding and inexcusable. The fact that the warrants at issue are general
  28 warrants that allowed over-seizure of personal data, combined with the

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   1 government’s failure to execute the warrants in good faith, together with the
   2 government’s seizure and dissemination of Dr. R. Weaver’s attorney-client
   3 privileged communications detailed in the accompanying Joint Motion, warrant
   4 dismissal of the indictment against Dr. R. Weaver. Should the Court find that
   5 dismissal is not warranted based on the record before it, Dr. R. Weaver requests an
   6 evidentiary hearing so the Court can determine how these constitutional violations
   7 occurred and fashion an appropriate remedy. At a minimum, all evidence seized
   8 through these warrants, and any fruits derived therefrom, should be suppressed.
   9 II.      BACKGROUND
  10          A.    Apple and Google Accounts Contain Far More Than Just Emails
  11          A Google account includes over 51 types of data associated with a particular
  12 account name. See Declaration of Bruce Pixley (“Pixley Decl.”) ¶ 13; see also id. at
  13 Ex. B. Such data is not limited to emails, but also includes documents, videos,
  14 photographs, etc. stored in the “cloud,” and any information stored in the myriad of
  15 Google-based applications that are linked to the same Google account (e.g.,
  16 YouTube, Google Drive, Gmail, Google Play, Google Music, Google Maps, etc.).
  17 See id. at Ex. B. Access to an individual’s Google account will often give access to
  18 virtually all the data on a person’s cell phone that is stored in the cloud, if the phone
  19 uses the Android operating system.
  20          Apple accounts similarly include at least 23 different types of data associated
  21 with a particular account name. See id. at ¶ 14; see also id. at Ex. C. Like a Google
  22 account, an Apple account is associated with a myriad of Apple-based applications
  23 beyond email, such as Apple’s App Store, iCloud, iMessage, Apple Music, Apple
  24 TV+, etc. Id. And like a Google account is used on Android cell phones, an Apple
  25 account is often used on iPhones to access virtually all of the data contained therein
  26 that is stored in the cloud.
  27
  28

                                                  4
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   1         B.     The Search Warrants Demand the Entire Contents of Dr. R.
                    Weaver’s Apple and Google Accounts
   2
             During the course of its investigation into purported Medicare fraud, the
   3
       government obtained two search warrants for digital data related to Dr. R. Weaver.
   4
       See Moore Decl., Ex. A (Search and Seizure Warrant of Account Associated with
   5
       rsweavermd@me.com (“Apple SW”)); Moore Decl., Ex. B (Search and Seizure
   6
       Warrant of Account Associated with ronaldweavermd@gmail.com (“Google SW”)).
   7
       Both warrants were supported by the same affidavit from FBI Special Agent Pamela
   8
       Schwartz. See Moore Decl., Ex. A at 1-14; id. at Ex. B at 1-14.
   9
                    1.    The Probable Cause Showing Was For Emails Only
  10
             SA Schwartz’s affidavit describes an alleged scheme similar to that charged
  11
       in the indictment, namely, a scheme by individuals associated with what SA
  12
       Schwartz calls the “GCC Clinic,” involving prescriptions for external
  13
       counterpulsation (“ECP”) that were purportedly medically unnecessary, recruitment
  14
       of patients who allegedly did not need the treatment, a regimen of unnecessary tests,
  15
       falsification of records, and fraudulent billing of Medicare, Medi-Cal, and Medi-Cal
  16
       managed care organizations. Id. at Ex. A at 23-37; id. at Ex. B at 23-37.
  17
             As to the Apple and Google accounts, the affidavit contains a section that
  18
       purports to detail “probable cause that evidence to be seized is located in the subject
  19
       accounts.” Id. at Ex. A at 58-61; id. at Ex. B at 58-61. That section arguably sets
  20
       forth probable cause to obtain Dr. R. Weaver’s email correspondence related to the
  21
       alleged scheme, but does not address any other type of data in the Apple or Google
  22
       accounts. See id. SA Schwartz’s entire discussion relates to accessing Dr. R.
  23
       Weaver’s emails and “e-mail accounts,” suggesting to the magistrates that emails
  24
       was what the government was after. See, e.g., id. at Ex. A at 62-63; see also id. at
  25
       Ex. B at 62-63 (same).
  26
                    2.    The Government Did Not Tell the Magistrates the Warrants
  27                      Demanded All Information in the Accounts
  28         Despite the fact that the effort to show probable cause was limited to certain

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   1 emails, the search warrants demanded the entirety of Dr. R. Weaver’s Apple and
   2 Google accounts. The government never explained the difference to the magistrates.
   3         On December 18, 2018, Magistrate Judge Maria A. Audero was presented
   4 with and signed a search warrant commanding Apple, Inc., to provide the
   5 government with “All contents of all wire and electronic communications associated
   6 with [Apple account rsweavermd@me.com],” including but not limited to “all
   7 emails, communications, or messages of any kind,” and “all other records and
   8 information” associated with the account. Moore Decl., Ex. A at 8-9 (emphasis
   9 added). The first category of data—wire and electronic communications—was
  10 “limited to that which occurred on or after January 1, 2010.” Id. at 8. No date
  11 restrictions were put on the second category of data to be produced, i.e., “all other
  12 records and information.” Id. at 9. Thus, the warrant commanded Apple to turn over
  13 every bit of data associated with Dr. R. Weaver’s Apple account.
  14         The next day—December 19, 2018—Magistrate Judge Michael R. Wilner
  15 was presented with and signed a search warrant directed at Google LLC, with the
  16 same directions as to Google account ronaldweavermd@gmail.com. Moore Decl.,
  17 Ex. B at 8-9. This warrant commanded Google to turn over to the government every
  18 bit of data associated with Dr. R. Weaver’s Google account.
  19               3.     The Items to Be Seized Were a Limited Set
  20         The warrants limited what the government could seize to fourteen categories
  21 of information that would constitute “evidence, contraband, fruits, or
  22 instrumentalities of” particular crimes, all specifically related to the activity at GCC
  23 and the prescribing/billing of EECP prescriptions. Moore Decl., Ex. A at 113-117;
  24 id. at Ex. B at 113-117.
  25               4.     The Court-Ordered Search Procedures
  26         The warrants contain no instructions on how the government was to go about
  27 searching the entirety of Dr. R. Weaver’s Apple and Google accounts to locate and
  28 segregate evidence the government was allowed to seize. The affidavit simply stated

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   1 that “[u]pon receipt of the information [from Apple and Google], law enforcement
   2 agents and/or individuals assisting law enforcement and acting at their direction will
   3 review that information to locate the items” to be seized. See Moore Decl., Ex. A at
   4 17; id. at Ex. B at 17.
   5         The warrants contained a privilege review process for “wire and electronic
   6 communications,” but not for other records and information included in the two
   7 accounts. Like the probable cause showing, this falsely suggested to the magistrate
   8 judges that the government was only planning to obtain emails, rather than the
   9 entirety of the Apple and Google accounts.
  10         The warrants instructed that once the government had finished all of its
  11 reviews, it must create copies of all records seized pursuant to the warrant, and then
  12 seal and not review the original productions received from Apple and Google,
  13 including all the data that was not within the scope of the warrants. Moore Decl.,
  14 Ex. A at 7; id. at Ex. B at 7.
  15         C.     Apple and Google Produce All Records and Information
                    Associated With the Accounts Pursuant to the Search Warrants
  16
             Apple and Google complied with the warrants and produced voluminous
  17
       records, dating back in some instances to March 1999. See Moore Decl., Exs. C-D.
  18
       Apple and Google produced to the government an astounding combined 155.2
  19
       gigabytes of data. Id. ¶¶ 5-6. The records included tens of thousands of emails,
  20
       photographs, videos, spreadsheets and other types of files. Id.
  21
             D.     The Government Seized and Produced Thousands of Dr. R.
  22                Weaver’s Private Records Outside the Scope of the Warrants
  23         Among the 83,783 files that the government seized and produced to every
  24 defendant is an enormous volume of material that falls outside the 14 categories of
  25 items to be seized in the warrants, including thousands of intimate emails, videos,
  26 photographs, documents, and other pieces of data that have absolutely nothing to do
  27
  28

                                                 7
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   1 with the case. See Moore Decl., ¶¶ 7-9; id. Ex. E.2 The government seized material
   2 outside of the timeframe it established in the warrant for communications, i.e.,
   3 material prior to January 1, 2010, and appears to have seized virtually everything.3
   4 At about 5pm on the day this filing was due, the government for the first time
   5 indicated that it did run search terms on the seized materials (Dkt. 395 at 4);
   6 however, the fact that Dr. R. Weaver’s most private, intimate, and irrelevant
   7 documents were produced indicates that this process was highly defective, at best.
   8          The seized material includes a mind-boggling volume of Dr. R. Weaver’s
   9 private, sensitive, and potentially embarrassing records (as well as a lot of spam,
  10 junk, and corrupt files), all of which is irrelevant to this case. The following is a
  11 non-comprehensive list of examples of the types of items that the government seized
  12 and produced to every defendant:
  13               Multiple videos showing Dr. R. Weaver (and others) engaged in
                    sexual intercourse and other intimate acts;
  14
                   Multiple pornography videos and other explicit content attached
  15                to irrelevant emails;
  16               Thousands of personal photographs of Dr. R. Weaver and his
                    family, including pictures of Dr. R. Weaver’s daughter taken in
  17                2000, pictures of her baptism in 2002, and pictures of her eighth
                    birthday in 2007, and countless other pictures of Dr. R
  18                Weaver’s family members;
  19               800+ personal and privileged emails between Dr. R. Weaver
  20
       2
        On May 1, 2020, the Privilege Review Team (also referred to elsewhere as the
  21 “Filter Team” or “Taint Team”) produced to just Dr. R. Weaver’s counsel another
  22 51,379 documents from the Google/Apple productions that had been flagged as
     potentially privileged by the Privilege Review Team, asking that Dr. R. Weaver’s
  23 counsel conduct a privilege review of the material. Id. at ¶¶ 43-44; id. at Exs. U-V.
  24 Most of these were also outside the scope of the warrant.
  25   3
        Despite the warrants’ instruction that the government create copies of all records
  26 seized pursuant to the warrants, and then seal any records not seized by the
     government (Moore Decl., Ex. A at 7; Ex. B at 7), the government has told counsel
  27 that it has “no records” of any material obtained from Google or Apple which it did
  28 not seize or flag as potentially privileged. See id., Ex. T.

                                                  8
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   1              and his estranged wife (who has no connection to this case);
   2             350+ intimate and personal emails between Dr. R. Weaver and
                  his girlfriend (who also has no connection to this case);
   3
                 150+ personal emails between Dr. R. Weaver and his adult son
   4              (who has no connection to this case), including those in which
                  they discuss divorce, the death of their daughter/sister, and
   5              various other sensitive subjects;
   6             Dr. R. Weaver’s wife’s personal medical records;
   7             Dr. R. Weaver’s personal medical records;
   8             Thousands of emails relating to Dr. R. Weaver’s longtime
                  involvement with the Los Angeles Chapter of the National
   9              Association of Guardsmen, including records related to the
                  organization’s management and finances;
  10
                 Communications and records regarding Dr. R. Weaver’s
  11              massage appointments;
  12             Hundreds of videos and photos of the sorts of everyday
                  activities people document on their cell phones;
  13
                 Enormous volumes of financial information, including
  14              hundreds of records containing detailed information about Dr.
                  R. Weaver’s brokerage accounts, private investments, and
  15              stock-trades, as well as related communications with his
                  accountants and financial advisors, credit card and bank
  16              statements, tax documents, and utility, cable and phone bills;
  17             Copies of his daughter’s homework assignments;
  18             Records of Dr. R. Weaver’s gambling debts and winnings;
  19             Records regarding attempts by Dr. R. Weaver and his wife to
                  purchase a vacation home in Mexico;
  20
                 Records about Dr. R. Weaver’s vacations, including flight and
  21              hotel reservations, leisure activity records, and communications
                  with travel agents;
  22
                 Records showing Dr. R. Weaver’s spending on numerous
  23              personal items, including electronic devices, home appliances
                  and bedding, newspaper/magazine subscriptions, repair services
  24              for his wife’s vehicle, and men’s health supplements related to
                  sexual activity;
  25
                 A list of Dr. R. Weaver’s classmates from 1974.
  26
  27 Moore Decl., Exs. G-S.
  28        Basic searches of the 83,783 items seized by the government and produced to

                                               9
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   1 all defendants demonstrates that less than 6% contain at least one of the following
   2 broad, relevant search terms: “Global Cardio Care,” “GCC,”
   3 “@globalcardiocare.com,” “Soulati,” “Carlish,” “Elkin,” “Scheele,” “Shetty,”
   4 “cardiologist,” “EECP,” “ECP,” “Inglewood,” “angina,” “diagnosis,”
   5 “prescription,” or “Medicare.” Id. ¶ 13. The remaining 78,929 items do not contain
   6 any of those words, suggesting they have nothing to do with the government’s
   7 investigation. Id. In short, the government appears to have done nothing meaningful
   8 to segregate material within the scope of the warrant from material outside the scope
   9 of the warrant, and just seized and produced virtually all of it.
  10          E.    The Government Did Nothing to Rectify the Widespread
                    Dissemination of This Material
  11
              In 2019, counsel corresponded with the assigned prosecutors and asked them
  12
       to review the widespread dissemination of this most private material which fell well
  13
       outside the scope of the search warrant. See Moore Decl., Ex. T. They never
  14
       responded and made no effort to correct or restrict the distribution. Two days before
  15
       the deadline for substantive motions, after counsel again raised the issues discussed
  16
       herein, the government for the first time requested that the other defendants return
  17
       eight videos it characterized as “sensitive and personal.” Id. at Ex. W.
  18
       III.   ARGUMENT
  19
              A.    The Search Warrants Were Unconstitutional General Warrants
  20                and Not Supported By Probable Cause
  21          The Fourth Amendment protects “[t]he right of the people to be secure in
  22 their persons, houses, papers, and effects, against unreasonable searches and
  23 seizures” by preventing “general, exploratory rummaging in a person’s belongings.”
  24 Andresen v. Maryland, 427 U.S. 463, 480 (1976) (internal quotation marks and
  25 citations omitted). Accordingly, the Fourth Amendment prohibits searches without
  26 probable cause. U.S. Const. Amend. IV. Probable cause requires a fair probability
  27 that contraband or evidence of crime will be found at a particular location. Illinois v.
  28 Gates, 462 U.S. 213, 238 (1983). An affidavit in support of a search warrant must

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   1 therefore demonstrate “reasonable cause to believe that the things listed as the
   2 objects of the search are located in the place to be searched.” United States v.
   3 Ramos, 923 F.2d 1346, 1351 (9th Cir. 1991), overruled on other grounds by United
   4 States v. Ruiz, 257 F.3d 1030 (9th Cir. 2001). A warrant must be no broader than the
   5 probable cause upon which it is based. United States v. Weber, 923 F.2d 1338, 1342
   6 (9th Cir. 1990). For instance, where a structure contains two residences or where
   7 two residences share a lot, there must be independent probable cause to search each
   8 residence. United States v. Whitten, 706 F.2d 1000, 1008 (9th Cir. 1983).
   9         Here, at best, the government had probable cause to search through emails
  10 associated with Dr. R. Weaver’s Apple and Google accounts. But the warrants
  11 called for the production of not just emails and related items, but “all other records
  12 and information” associated with the accounts. Moore Decl., Ex. A at 9; id. at Ex. B
  13 at 9. The government never told the magistrate judges the scope of material
  14 that Apple and Google would turn over in response to such an order. Indeed,
  15 the affidavits suggested only emails were to be obtained, but the language of the
  16 warrants demanded the entirety of the data in the accounts.
  17         This was no accident. The warrants as drafted are gross departures from the
  18 FBI’s standard practices, and evince a complete disregard for Dr. Weaver’s privacy
  19 and any attempt to seize only relevant documents. See Pixley Decl. ¶¶ 16-19; 21-26.
  20 Law enforcement agents (including the FBI) are for this very reason specifically
  21 trained to avoid phrases such as “all records and information” (without specific
  22 justification) when requesting information from a provider such as Google or Apple.
  23 Id. at ¶¶ 17, 19. They are trained that many of the categories of data in these
  24 accounts are simply not relevant to criminal investigations. Id. at ¶¶ 15-16, 19.
  25         The search warrants were akin to general search warrants allowing agents to
  26 seize everything in Dr. R. Weaver’s cell phones and then rummage through them.
  27 As another court explained in denying a government application for a warrant to
  28 search a cell phone, “‘just as probable cause to believe that a stolen lawnmower may

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   1 be found in a garage will not support a warrant to search an upstairs bedroom,’
   2 probable cause to believe [evidentiary] communication[s] may be found in phone’s
   3 the mail application will not support the search of the phone’s Angry Birds
   4 application.” In re Nextel Cellular Tel., 2014 WL 2898262, at *13 (D. Kan. June 26,
   5 2014) (quoting United States v. Ross, 456 U.S. 798, 824 (1982)). Here, probable
   6 cause to believe communications related to the so-called GCC Clinic might arguably
   7 be found in emails did not support the search of videos, photographs, or other data
   8 contained in Dr. R. Weaver’s Apple and Google accounts.
   9         These were exactly the type of general warrants the Ninth Circuit warned
  10 about in United States v. Comprehensive Drug Testing, Inc., which “render[] the
  11 Fourth Amendment irrelevant.” 621 F.3d 1162, 1176 (9th Cir. 2010) (“CDT III”).
  12 Indeed, the Fourth Amendment was written “in response to the evils of general
  13 warrants—those that allow such exploratory rummaging.” United States v. Campos,
  14 221 F.3d 1143, 1147 (10th Cir. 2000). The warrants here did not comply with these
  15 fundamental constitutional restrictions.
  16         B.     The Warrants Unconstitutionally Allowed the Government to
                    Rummage Through Dr. R. Weaver’s Entire Life
  17
             The unconstitutional nature of the search warrants arguably could have been
  18
       ameliorated if they had contained some procedural mechanisms to prevent the
  19
       government from exploring every aspect of Dr. R. Weaver’s most private affairs
  20
       which have nothing to do with the issues the government claimed to be
  21
       investigating. The warrants contained nothing of the sort.
  22
             The warrants give no instruction to the Search Team as to how the
  23
       government was to locate items to be seized within the scope of the warrants despite
  24
       clear instruction from the Ninth Circuit that warrants for electronically stored
  25
       information should include “procedures [] to maintain the privacy of materials that
  26
       are intermingled with seizable materials, and to avoid turning a limited search for
  27
       particular information into a general search of office file systems and computer
  28

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   1 databases.” CDT III, 621 F.3d at 1170; see also United States v. Tamura, 694 F.2d
   2 591 (9th Cir. 1982). Here, the warrants did not require the government to do any sort
   3 of targeted or key-word searches of the data produced by Apple and Google, or
   4 otherwise specify any procedure the government had to go through in order to find
   5 material within the scope of the warrant.
   6        This again was no accident. This lack of instruction is contrary to FBI training
   7 and best practices. See Pixley Decl. ¶¶ 16-19. Search procedures are necessary to
   8 protect the privacy of the individual whose digital data is being obtained and avoid
   9 over-seizing data, since much of it is often not responsive to the search warrant.
  10 Pixley Decl. ¶ 21. Without search procedures, investigating agents or officers are
  11 able to review every single file, which results in reviewing information far beyond
  12 what is responsive to the warrant. See Id.
  13        The warrants here made no effort to “strik[e] the right balance between the
  14 government’s interest in law enforcement and the rights of individuals to be free
  15 from unreasonable searches and seizures.” CDT III, 621 F.3d at 1177. Rather, they
  16 permitted exactly that which is proscribed: “The process of segregating electronic
  17 data that is seizable from that which is not must not become a vehicle for the
  18 government to gain access to data which it has no probable cause to collect.” Id. “A
  19 warrant isn’t ever supposed to be a license for just a general rummaging.” United
  20 States v. Christie, 717 F.3d 1156, 1164 (10th Cir. 2013) (citation omitted). Here, the
  21 government gained such access and subsequently gave it to every other defendant.
  22        Whether a particular warrant strikes “the proper balance between the
  23 government’s interest in law enforcement and the right of individuals to be free
  24 from unreasonable searches and seizures of electronic data” turns, in part, on
  25 whether the search involves an “over-seizure of data that could expose sensitive
  26 information about other individuals not implicated in any criminal activity,” and/or
  27 “sensitive information about [the defendant] other than” his involvement in the
  28 alleged criminal activity under investigation. United States v. Schesso, 730 F.3d

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   1 1040, 1049-50 (9th Cir. 2013). To strike this balance, courts generally require the
   2 government to include some
   3         appropriate protocol delineating what procedures will be followed to
   4         address these Fourth Amendment issues. A protocol for forensic review
             of a device that stores data electronically must make reasonable efforts
   5         to use methods and procedures that will locate and expose those
   6         categories of files, documents, or other electronically stored
   7         information that are identified with particularity in the warrant, while
             minimizing exposure or examination of irrelevant, privileged, or
   8         confidential files to the extent reasonably practicable.
   9
       United States v. Wei Seng Phua, 2015 WL 1281603, at *7 (D. Nev. Mar. 20, 2015);
  10
       see also Matter of the Search of Apple iPhone, 31 F. Supp. 3d 159, 165–68 (D.D.C.
  11
       2014) (denying cell phone search warrant where “application indicated that
  12
       [government] would take and sift through massive amounts of data for which it had
  13
       no probable cause to seize in the first place,” and requiring search protocol because
  14
       “an explanation of the scientific methodology the government will use to separate
  15
       what is permitted to be seized from what is not, will explain to the Court how the
  16
       government will decide where it is going to search—and it is thus squarely aimed at
  17
       satisfying the particularity requirement of the Fourth Amendment”); United States v.
  18
       Navarro, 2019 WL 3877699, at *12 (D. Ariz. July 12, 2019) (same); In re Nextel
  19
       Cellular Tel., 2014 WL 2898262, at *14 (D. Kan. June 26, 2014) (denying search
  20
       warrant application because “search protocol” failed to adequately describe search
  21
       methodology); In re U.S.’s Application For A Search Warrant To Seize & Search
  22
       Elec. Devices From Edward Cunnius, 770 F. Supp. 2d 1138, 1150 (W.D. Wash.
  23
       2011) (denying application which sought “the broadest warrant possible—the
  24
       authority to search every single thing” on an electronic device in part because it
  25
       contained none of the “procedural safeguards” recommended by the Ninth Circuit in
  26
  27
  28

                                                 14
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   1 CDT III)4; Matter of Search of ODYS LOOX Plus Tablet, 28 F. Supp. 3d 40, 44
   2 (D.D.C. 2014) (denying search warrant for not including adequate search protocol).
   3          Indeed, in an order denying a warrant application similar to those at issue
   4 here—“for e-mails and all other content related to [an Apple] e-mail account”—
   5 another court denied the warrant because it contained no protocol to limit the
   6 government’s rifling through reams of data for which it had no probable cause.
   7 Matter of the Search of Info. Associated with [redacted]@mac.com that is Stored at
   8 Premises Controlled by Apple, Inc., 25 F. Supp. 3d 1, 6 (D.D.C. 2014).
   9          Here, the warrants allowed the broad seizure of every bit of data in Dr. R.
  10 Weaver’s Apple and Google accounts, and allowed the government to rummage
  11 through it all without restriction. They made no effort to strike a balance of any sort.
  12 There were no restrictions on what the government could look at, and no instruction
  13 on how the Search Team or Privilege Review Team would locate documents
  14 responsive to the warrant. It was a free-for-all, with agents and prosecutors allowed
  15 to look at Dr. R. Weaver’s and his family’s and friends’ most intimate affairs
  16 without restriction—exactly what other courts have acted to prevent and exactly
  17 what FBI training is intended to guard against, see Pixley Decl., ¶¶ 21-23, 26.
  18          Importantly, the magistrates were not told what they were ordering. As
  19 discussed above, the probable cause showing and discussion in the affidavit in
  20 support of the warrants was all about emails, and the FBI agent never explained that
  21 the government was going to get much more. The magistrates were misled to
  22
  23   4
              The Washington District Court also noted that “[t]he government’s proposed
  24   use of hash values”—like the government said it might do here (Moore Decl., Ex. A
       at 109-110; id., Ex. B at 109-110)—“does not necessarily narrow the scope of the
  25   search requested. Specifically, although ‘hash values’ can be used to exclude files
  26   that do not interest the government such as a digital device’s operating system, they
       can also be used to search and find evidence outside the scope of the warrant
  27   automatically and systematically.” In re U.S.’s Application For A Search Warrant
  28   To Seize & Search Elec. Devices From Edward Cunnius, 770 F. Supp. 2d at 1152.

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   1 believe that they were signing warrants for emails, when in fact they were giving
   2 the government access to Dr. R. Weaver’s entire digital life.
   3          The analysis required by Schesso is straightforward here: There was an
   4 “over-seizure of data that [did] expose sensitive information about other individuals
   5 not implicated in any criminal activity,” and “sensitive information about [Dr. R.
   6 Weaver] other than” his involvement in the alleged criminal activity under
   7 investigation. United States v. Schesso, 730 F.3d at 1049-50.
   8          C.     The Government Violated the Terms of the Search Warrants and
                     Seized Virtually Everything
   9
              After securing these general warrants, the government then did virtually
  10
       nothing to segregate materials subject to seizure from materials that were not, and
  11
       simply seized vast reams of data that have nothing to do with this case. Although the
  12
       warrants specified 14 categories of items subject to seizure, the government appears
  13
       to have seized almost everything that Apple and Google turned over in response to
  14
       the overbroad search warrants. The government made no effort to restrict its
  15
       seizures to those 14 categories, or to the January 1, 2010 forward timeframe
  16
       specified in the warrants for e-mail, or even just to e-mails and related data.
  17
              Generally, “in searches made pursuant to warrants only the specifically
  18
       enumerated items may be seized.” United States v. Tamura, 694 F.2d 591, 595 (9th
  19
       Cir. 1982) (citation omitted). The government here told the magistrate that it would
  20
       only “seize content records that are within the scope of the search warrant,” and
  21
       would separate, seal and maintain copies of all items not seized. Moore Decl., Ex. A
  22
       at 6-7; id. at Ex. B at 6-7.
  23
              None of this happened. The government did not seize only what it had
  24
       permission to seize. It seized essentially everything it could get its hands on. And it
  25
       did not segregate anything other than potentially privileged material. The
  26
       prosecutors have confirmed as much: There are no records of material that
  27
       Google/Apple turned over that was not seized. Id. at Ex. T. Compounding this
  28

                                                  16
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   1 outrageous misconduct, the government then turned over most everything, without
   2 restriction, to every defendant. Id. at ¶ 7. Thus the government did not comply with
   3 the most basic requirements of executing a search warrant. See Pixley Decl., ¶¶ 16-
   4 17, 20-21. The government even ignored the January 1, 2010 cutoff date it included
   5 in the warrant, and seized and produced hundreds of items dated between 1999 and
   6 2009, including emails from this time period. See Moore Decl., at ¶ 12; id. at Ex. F.
   7        And even after the prosecutors were alerted to the vast over-seizure, the
   8 government waited until two days before this Motion was due to claw back a mere
   9 eight videos.
  10        D.       Dismissal of the Indictment is Warranted
  11        As detailed in the contemporaneously filed Joint Motion of Ms. Soulati and
  12 Dr. R. Weaver to Suppress and or Sever, which is incorporated herein by reference,
  13 the government’s outrageous conduct goes far beyond violating the terms of these
  14 two search warrants to seize and disclose the most intimate and private details of Dr.
  15 R. Weaver’s and his family’s and friends’ personal lives. The government, in a
  16 separate search warrant, also violated Dr. R. Weaver’s Fourth, Fifth, and Sixth
  17 Amendment rights when it searched the physical premises of the GCC Clinic and
  18 then reviewed and produced to all defendants Dr. R. Weaver’s attorney-client
  19 privileged material. See Dkt. 396 (Joint Mot.), 10-17.
  20        The details related to that constitutional violation are set forth at length in the
  21 accompanying Joint Motion and will not be repeated here, but they involve the
  22 large-scale production of privileged documents to all defendants without Bates-
  23 numbers, making it impossible for the government to claw back the material when it
  24 attempted to do so one year later. Id. at 16. Thus not only was Dr. R. Weaver’s
  25 privileged material reviewed by the government and disseminated to the other
  26 defendants, it was done in a manner that makes it impossible to rectify the situation.
  27        In sum, Dr. R. Weaver’s constitutional rights have been trampled repeatedly
  28 in this case. In three separate warrants, the government’s conduct was egregious and

                                                 17
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   1 outrageous, without regard for the orders of the Court or Dr. R. Weaver’s rights.
   2         A district court has “supervisorial powers” which permit the Court to
   3 supervise the “administration of justice” in order to deter “illegality” and to protect
   4 “judicial integrity.” United States v. McClintock, 748 F.2d 1278, 1284 (9th Cir.
   5 1984). The court’s exercise of its supervisory powers “is an appropriate means of
   6 policing ethical misconduct by prosecutors.” United States v. Lopez, 4 F.3d 1455,
   7 1463 (9th Cir. 1993). A district court may utilize its supervisorial powers to dismiss
   8 an indictment based on prosecutorial misconduct. See United States v. Tucker, 8
   9 F.3d 673, 674 (9th Cir. 1993). “There are three legitimate grounds for a court’s
  10 exercise of supervisory power: ‘to implement a remedy for the violation of a
  11 recognized statutory or constitutional right; to preserve judicial integrity by ensuring
  12 that a conviction rests on appropriate considerations validly before a jury; and to
  13 deter future illegal conduct.”’ Lopez, 4 F.3d at 1463 (quoting in part United States v.
  14 Simpson, 927 F.2d 1088, 1090 (9th Cir. 1991)).
  15         Dismissal is warranted here, as each of the three grounds are implicated. First,
  16 the government repeatedly trampled on Dr. R. Weaver’s constitutional rights. It
  17 obtained two general warrants under false pretenses and then used those warrants to
  18 rummage through Dr. R. Weaver’s entire personal life, and that of his friends and
  19 family. This, together with the wholesale seizure (and mass production) of Dr. R.
  20 Weaver’s most private records violated at least Dr. R. Weaver’s Fourth Amendment
  21 right “to be secure in [his] persons, houses, papers, and effects, against unreasonable
  22 searches and seizures” by preventing “general, exploratory rummaging in a person’s
  23 belongings.” Andresen v. Maryland, 427 U.S. 463, 480 (1976). Moreover, as
  24 detailed in the Joint Motion, the government violated Dr. R. Weaver’s Fourth, Fifth,
  25 and Sixth Amendment rights by seizing his privileged materials, and repeatedly
  26 producing them to the Prosecution Team and Dr. R. Weave’s co-defendants. See
  27 Dkt. 396 (Joint Mot.), 10-17. The panoply of constitutional violations Dr. R. Weaver
  28 has suffered alone necessitates dismissal.

                                                  18
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   1         Second, dismissal is appropriate because Dr. R. Weaver will face
   2 fundamentally unfair considerations when at trial. Both the government and Dr. R.
   3 Weaver’s co-defendants have extensively reviewed and used Dr. R. Weaver’s
   4 privileged materials, and materials that never should have been seized in the first
   5 place, including by devising theories of liability/defense based on their contents and
   6 showing them to key parties and witnesses. See Id. at 20-21. This Court must
   7 dismiss the charges against Dr. R. Weaver in order to put a stop to this
   8 fundamentally unfair and unconstitutional prosecution and forthcoming trial, the
   9 unfairness of which is only compounded by the entirely inappropriate, unnecessary,
  10 and embarrassing invasion into and exposure of Dr. R. Weaver’s most private
  11 affairs. While the government now says it will not use the videos of Dr. R. Weaver
  12 having sex, it apparently considers as fair game for trial all of the other personal and
  13 private information that falls far outside the scope of the warrants.
  14         Finally, this Court should dismiss Dr. R. Weaver’s charges to deter the
  15 government from conducting itself in this manner in the future. The government’s
  16 misconduct here is outrageous, repeated, and spans a lengthy period of time. It
  17 involves three different warrants. In each instance, the government ignored the
  18 limits set by the warrants. In two of the instances, it misled the magistrate judges. In
  19 all of them, it displayed a complete disregard for the rights of a defendant and the
  20 responsibilities of an FBI agent and federal prosecutor. The harm inflicted here is
  21 massive: the seizure and broad production of the most intimate records one can
  22 imagine and attorney-client privileged material. Even if the Court finds that such
  23 conduct does not rise to the level of a constitutional violation (it does), dismissal is
  24 still appropriate because the government’s conduct is indisputably outrageous. See
  25 United States v. Ross, 372 F.3d 1097, 1109 (9th Cir. 2004) (“A court may exercise
  26 its supervisory powers to dismiss an indictment in response to outrageous
  27 government conduct,” even if that conduct “falls short of a due process violation.”)
  28         Nor is there any excuse that would justify the government’s actions here. The

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   1 simple truth is that the government either intentionally or recklessly ignored every
   2 rule associated with obtaining and executing search warrants, particularly when they
   3 involve sensitive searches of vast electronic material. The Ninth Circuit “embrace[s]
   4 [that] reckless disregard for the prosecution’s constitutional obligations” is sufficient
   5 “to establish flagrant misbehavior” warranting dismissal. See United States v.
   6 Chapman, 524 F.3d 1073, 1085 (9th Cir. 2008). The government’s repeated
   7 disregard of the rules associated with obtaining and executing warrants, and its
   8 repeated mistreatment of Dr. R. Weaver’s privileged material and his and his
   9 family’s and friends’ most private, intimate, and outside-the-scope-of-the-warrant
  10 videos, photographs, and documents, evinces reckless disregard of the government’s
  11 constitutional obligations. This is especially the case as “[p]rosecutors are subject to
  12 constraints and responsibilities that don’t apply to other lawyers.” United States v.
  13 Kojayan, 8 F.3d 1315, 1323 (9th Cir. 1993). Namely, “[t]he function of the
  14 prosecutor under the Federal Constitution is not to tack as many skins of victims as
  15 possible to the wall. [Their] function is to vindicate the right of people as expressed
  16 in the laws and give those accused of crime a fair trial.” Donnelly v. DeChristoforo,
  17 416 U.S. 637, 648–49 (1974) (Douglas, J., dissenting) (emphasis added). The
  18 government here did the opposite, and there is simply no way to quantify the harm it
  19 has inflicted on Dr. R. Weaver and his family and friends by having all aspects of
  20 their lives displayed for all to see, as well as his communications with his attorneys
  21 presented to his codefendants and the prosecutors. In short, the government has
  22 engaged in a pattern of misconduct that must be acknowledged and deterred.
  23         Compounding the egregious nature of this situation is the government’s total
  24 refusal to acknowledge its mistakes and to take meaningful corrective action. See
  25 Kojayan, 8 F.3d at 1324 (“What we find most troubling about this case is not the
  26 AUSA’s initial transgression, but that he seemed to be totally unaware that he’d
  27 done anything at all wrong, and that there was no one in the United States
  28 Attorney’s office to set him straight. Nor does the government’s considered

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   1 response, filed after we pointed out the problem, inspire our confidence that this
   2 kind of thing won’t happen again.”); see also United States v. Cornejo, 1996 WL
   3 107271, at *15 (N.D. Cal. Mar. 5, 1996) (dismissing indictment where prosecutor
   4 not only engaged in misconduct but then refused to take corrective action or
   5 acknowledge the mistake). The government has had literally years to take ownership
   6 and attempt corrective action, but has instead let Dr. R. Weaver’s most personal
   7 matters remain on display to his co-defendants and the government even after the
   8 matter was raised by counsel. It similarly made no real effort to claw back the
   9 privileged material it produced without Bates numbers, even when warned by co-
  10 defendants’ counsel that the clawback requests were impossible to comply with. The
  11 government has consistently refused to do the right thing, and the easy thing: own
  12 its misconduct and correct it. This unflinching disregard of Dr. R. Weaver’s
  13 constitutional rights and dignity indicates that the government would have no
  14 problem doing this again, should the Court turn a blind eye.
  15         If the Court is not yet convinced that dismissal is appropriate, then an
  16 evidentiary hearing should be held to determine exactly how it happened that Dr. R.
  17 Weaver’s rights were repeatedly and brazenly trampled by the government, and
  18 what the appropriate remedy might be.
  19         E.     At a Minimum, Everything Seized Pursuant to the Warrants
                    Should be Suppressed
  20
             “The exclusionary rule generally bars admission of the evidence seized that
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       was beyond the scope of the warrant.” United States v. Sedaghaty, 728 F.3d 885,
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       915 (9th Cir. 2013). It should be axiomatic that all evidence outside the categories of
  23
       documents the government was authorized to seize must be suppressed.
  24
             Here, if the Court does not dismiss Dr. R. Weaver’s charges, the
  25
       government’s “flagrant disregard for the terms of the warrant” demands suppression
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       of “all of the evidence, including evidence that was not tainted by the violation.”
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       United States v. Chen, 979 F.2d 714, 717 (9th Cir. 1992) (internal quotation marks
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   1 omitted). This means even material within the scope of the warrants should be
   2 suppressed. “[W]hen the violations of the warrant’s requirements are so extreme that
   3 the search is essentially transformed into an impermissible general search,”
   4 suppression of all evidence seized, including within the scope of the warrant, is
   5 appropriate. Id.; see also United States v. Rettig, 589 F.2d 418, 423 (9th Cir. 1978)
   6 (suppressing all evidence where “agents did not confine their search in good faith to
   7 the objects of the warrant, and that while purporting to execute it, they substantially
   8 exceeded any reasonable interpretation of its provisions”); United States v. Metter,
   9 860 F. Supp. 2d 205, 215–16 (E.D.N.Y. 2012) (“Because the government’s conduct
  10 shows flagrant disregard of the warrant’s directives, all evidence from the search . . .
  11 should be suppressed.”); United States v. Debbi, 244 F. Supp. 2d 235, 238
  12 (S.D.N.Y. 2003) (setting evidentiary hearing to determine “whether this is one of
  13 those rare cases in which, because the seizure was indiscriminate and substantially
  14 in excess of what the warrant provided, there must be a blanket suppression of
  15 everything seized from the [] home, even including such items as were properly
  16 seized,” which is “appropriate only where the search ‘[1] greatly exceeds the bounds
  17 of a warrant and [2] is not conducted in good faith.’”) (citations omitted).
  18         In this case, the government violated its obligations under the Fourth
  19 Amendment by not only seizing, but then also producing—to every defendant—
  20 virtually everything it received from Apple and Google other than potentially
  21 privileged material. The government did not execute a search warrant as that phrase
  22 is normally understood. See Pixley Decl., ¶ 26 (“the searches in this case were not
  23 conducted according to standard law enforcement procedures”). Nor did it do what
  24 it told the magistrate judges who issued the orders it would do (after first misleading
  25 them into signing general warrants). Instead, after receiving a production from
  26 Apple and Google in response to an already overbroad warrant, the government
  27 seized it all, filtered for potential privilege, and produced it to everyone. Among the
  28 material seized was an outrageous amount of Dr. R. Weaver’s sensitive and

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   1 irrelevant information, including his intimate videos, communications with family
   2 and friends, pictures of his children, his and his wife’s medical records, documents
   3 detailing his personal purchases, stock trades, and even food delivery orders. The
   4 government cannot reasonably contend that these records fall into any of the 14
   5 enumerated categories set forth in the warrants. See Moore Decl., at Ex. A at 9-13;
   6 id. at Ex. B at 9-13.
   7         The government’s bad faith here is manifest. First, it sought a warrant for
   8 which it did not have probable cause, and hid from the magistrates that the data
   9 produced by Apple and Google would far exceed that for which the government had
  10 even tried to established probable cause. Second, it did not include any protocols in
  11 the warrant to prevent the agents and prosecutors from rummaging through every
  12 personal detail of Dr. R. Weaver’s life. Third, the government did not isolate items
  13 that would be responsive to the warrant, but instead—in blatant violation of the
  14 court’s orders—simply seizing everything, including thousands of the most intimate
  15 but irrelevant files it could find. See e.g. Moore Decl., ¶¶ 15-31. These decisions are
  16 an extreme departure from the government’s normal operating procedure.
  17         Such deliberate and intentional actions by the government constitute
  18 conscious and flagrant disregard of the requirement that the government only seize
  19 records within the scope of the warrants. Just as the Ninth Circuit found in Rettig,
  20 the government agents here “did not confine their search in good faith to the objects
  21 of the warrant, and [] while purporting to execute it, they substantially exceeded any
  22 reasonable interpretation of its provisions.” Rettig, 589 F.2d at 423. Moreover, the
  23 fact that the government not only seized these records, but then also included them
  24 in the records they produced to the other defendants in the case (other attorneys
  25 described stumbling onto Dr. R. Weaver’s intimate videos, and reacting with shock
  26 and dismay), makes clear that the government’s over-seizure was not motivated by
  27 good-faith “considerations of practicality,” Tamura, 694 F.2d at 597, but a complete
  28 abdication of responsibility. For that reason alone, the Court should find that the

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   1 government “flagrantly disregarded” the terms of the warrants and therefore order
   2 the suppression of any information seized thereunder.
   3         The suppression of the material obtained pursuant to the search warrants is
   4 also required due to the government’s “callous disregard for the rights of third
   5 parties” and their privacy. See CDT III, 621 F.2d at 1174; cf. Navarro, 2019 WL
   6 3877699, at *12 (suppression not warranted where defendant failed to establish
   7 “‘over-seizure of data’ that exposed sensitive information about him or other
   8 individuals not involved in criminal activity”). Unlike in Navarro, the evidence here
   9 cannot be disputed: The government seized and produced sensitive information
  10 about third parties, including but not limited to Dr. R. Weaver’s family members;
  11 the Association of National Guardsmen and their members, who in addition to
  12 sharing financial information about their organization also exchanged private
  13 communications that were not intended to be read by others; and, of course, the
  14 women in the intimate videos recorded by Dr. R. Weaver. Not only did the
  15 government make the inexplicable and outrageous decision to seize and produce
  16 such records, the government also failed to redact any information or use any other
  17 mechanism to preserve the privacy of those third parties.
  18         United States v. Metter, 860 F. Supp. 2d 205 (E.D.N.Y. 2012) is instructive,
  19 as the Second Circuit’s test it applied for wholesale suppression is similar to the
  20 Ninth Circuit’s test as articulated in Chen, 979 F.2d 714 and Rettig, 589 F.2d 418, as
  21 set forth above. The Metter Court explained that a warrant allowing the government
  22 to take “all information contained in the personal email accounts and computers at
  23 issue” met the first prong for wholesale suppression, i.e., whether government
  24 agents “effect a ‘widespread seizure of items that were not within the scope of the
  25 warrant.’” Metter, 860 F. Supp. at 215–16 (emphasis added). Here, the warrants, as
  26 drafted, covered not only Dr. R. Weaver’s entire email accounts, but all of the other
  27 voluminous data contained in his Apple and Google accounts, for which there was
  28 no attempt to show probable cause. The government also never told the magistrates

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   1 the scope of what was called for by the warrants as drafted. The Metter court
   2 explained that the second prong for wholesale suppression—a lack of good faith—
   3 was satisfied by the government’s failure to review the material seized in
   4 compliance with the procedure set out in the warrant, and, in that case, its “threat[]
   5 to provide all of the evidence seized and imaged to each defendant in the case.” Id.
   6 (emphasis added). The court held that in “the interest of justice and fairness,” it
   7 could not “permit the government to ignore its obligations. Otherwise, the Fourth
   8 Amendment would lose all force and meaning in the digital era and citizens will
   9 have no recourse as to the unlawful seizure of information that falls outside the
  10 scope of a search warrant and its subsequent dissemination.” Id. at 216.
  11         Here the government did more than threaten to produce all the evidence it
  12 seized: It obtained a general warrant for which it had no probable cause, put in place
  13 no procedure to avoid rummaging through Dr. R. Weaver’s most personal affairs,
  14 and then seized and produced nearly everything to every defendant. This is the type
  15 of extraordinary abuse that Metter contemplated calls for wholesale suppression.
  16         The production of such information is highly prejudicial to Dr. R. Weaver, as,
  17 besides violating his constitutional privacy rights, it also could be used against Dr.
  18 R. Weaver by the other potentially adverse parties in this case.
  19 IV.     CONCLUSION
  20         For the reasons stated herein and in the contemporaneously filed Joint Motion
  21 of Ms. Soulati and Dr. R. Weaver to Suppress or Sever, Dr. R. Weaver respectfully
  22 requests the Court dismiss the charges against him based on the government’s
  23 outrageous misconduct, or hold an evidentiary hearing to determine the appropriate
  24 remedy. At a minimum, Dr. R. Weaver requests that all evidence seized pursuant to
  25 the Apple/Google search warrants be suppressed and not used by the government (or
  26 any other party) for any purpose, as well as any evidence derived therefrom.
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   1 DATED: February 7, 2022           Respectfully submitted,
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   5
   6                                   By:         /s/ Ariel A. Neuman
   7                                               Ariel A. Neuman
   8                                         Attorneys for Defendant Ronald Seymour
                                             Weaver
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